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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON

ELIXIR THERAPEUTICS, LLC, a                  Case No. 3:20-cv-2055-YY
Wyoming limited liability company,
                                             DEFENDANT’S MOTION FOR
       Plaintiff, Counterclaim-Defendant,    PARTIAL SUMMARY JUDGMENT

       vs.                                   Oral Argument Requested

GLOBAL INNOVATIVE CONCEPTS,
LLC, an Alabama limited liability company,

       Defendant, Counterclaim-Plaintiff.




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                                       LR 7-1 CERTIFICATION
           In compliance with Local Rule 7-1, counsel for Defendant/Counter-Plaintiff Global

    Innovative Concepts, LLC (“Global”) certifies that he conferred in good faith with counsel for

    Plaintiff/Counter-Defendant Elixir Therapeutics, LLC (“Elixir”) regarding the subject of this

    motion, and the parties were unable to resolve the dispute and Elixir opposes this motion.

                                                 MOTION
           Global moves pursuant to Fed. R. Civ. P. 56 for summary judgment on the following:

           1.      Summary judgment on Count I of its Counterclaim (breach of contract), pursuant

    to the parties’ agreement formed up to April 28, 2020.

           2.      Summary judgment on Count I of its Counterclaim (breach of contract), pursuant

    to the written Compensation Agreement.

           3.      Summary judgment on Counts IV and V of its Counterclaim (unjust enrichment

    and quantum meruit, respectively), in the alternative to Count I.

           4.      Summary judgment on Count II of its Counterclaim (violation of the Alabama

    Sales Representative Statute).

           This Motion is supported by the points and authorities listed below, the pleadings and

    records contained in the Court’s file, as well as the Declaration of Jonathan Stamm (“Stamm

    Decl.”) and the Declaration of Allen Kilgore (“Kilgore Decl.”)—both filed contemporaneously

    with the instant Motion.

                                            INTRODUCTION
           What will appear to be the concoction of a diabolical first-year contracts professor, this

    case is relatively simple: Global is owed a commission for its efforts in soliciting a sales order

    from the State of Georgia that Elixir then successfully fulfilled (and for which it received

    handsome payment). When Elixir received full and final payment from the State of Georgia over

    two years ago, it disavowed its contractual obligations and refused to pay Global for its efforts.

    Instead, Elixir filed an action in Multnomah County Circuit Court seeking a declaration that no


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    written contract existed between the parties, asking the Court to determine the respective rights

    and obligations of each party.

              This case is about Elixir refusing to honor its contractual obligations. While the

    agreement was formed through a series of communications and full performance by Global, at all

    material times it was valid agreement existed between the parties whereby Elixir and Global

    would split gross profits on any sale on a 50/50 basis. This arrangement was later reflected in the

    written document that is attached as Exhibit 1 to Global’s Counterclaim [ECF 1]. Elixir invited

    Global to perform. Global did so, yet ultimately to its detriment. Over two years have passed

    since the day Elixir receive final payment from the State of Georgia, and Elixir still retains over

    $1.5 million of commissions that are rightfully due and owing to Global. For these reasons, and

    for the reasons more fully set forth below, summary judgment on Counts I, II, IV, and V is

    proper.

    I.        STATEMENT OF MATERIAL, UNDISPUTED FACTS

              A.     The parties and their introduction.
              At the onset of the COVID-19 Pandemic, there was an explosion of demand for various

    medical supplies, such as personal protective equipment (“PPE”). See Kilgore Decl. at ¶ 11. PPE

    includes things like masks, gowns, and gloves. Much of this demand came from local, state, and

    federal emergency management offices and health departments. Id. Defendant/Counter-Plaintiff,

    Global Innovative Concepts, LLC (“Global”), based in Alabama, was an early actor in the PPE

    space at that time, having already been involved in PPE procurement for various state agencies

    as of April 2020. Kilgore Decl., ¶ 6. Global is headed by Mr. Allen Kilgore. Kilgore Decl., ¶ 1.

              At the end of March of 2020, Mr. Kilgore was introduced through a mutual contact in the

    shipping and logistics space, James DeArruda, to Plaintiff/Counter-Defendant, Elixir

    Therapeutics, LLC (“Elixir”). Kilgore Decl., ¶ 4. Specifically, Mr. DeArruda introduced Mr.
    Kilgore to Mr. Shahriar Shahid. Id. At all material times, Mr. Shahid served as Elixir’s

    “Director.” Kilgore Decl., ¶ 8; see also, June 2, 2022 Deposition of Shahriar Shahid (“Shahid

    Depo.”) at 41:20-23, attached as Ex. “A” to the Stamm Decl.; February 8, 2022 30(b)(6)
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    Deposition of Elixir (“Elixir Depo.”) at 30:1-14, attached as Ex. “B” to the Stamm Decl. At all

    material times described below, Mr. Kilgore understood Mr. Shahid to have authority to

    negotiate on behalf of Elixir. Kilgore Decl., ¶ 8.

               Elixir is a Wyoming corporation with its principal place of business in Portland, Oregon.

    See Elixir’s Answer to Counterclaim, ¶ 3 [ECF15]. The Elixir website lists only two individuals

    as part of its team: Shahriar Shahid and Martin Hudler.1 The Elixir website also lists various PPE

    for sale.2 At the time of Mr. Shahid’s introduction to Mr. Kilgore, neither Mr. Shahid nor Elixir

    had ever been involved in a transaction involving PPE, nor a transaction with a state or federal

    agency. Shahid Depo. at 20:21-24; 35:4-9; 35:18-24 (acknowledging same). Of the sales that

    Elixir had done, it had used consultants, brokers, and other “middle-men” to assist in sale

    generation. Shahid Depo. at 36:20-25 (stating same); see also, Elixir Depo. at 24:15-21 (stating

    same).

               B.       The parties enter into a contract governing the sale of PPE to the State of
                        Georgia and beyond.
               Upon their introduction, Mr. Kilgore and Mr. Shahid immediately began discussing an

    arrangement wherein Global would solicit and generate purchase orders from state agencies that

    Elixir would fulfill, at which point the two sides would split profits on a 50/50 basis. Kilgore

    Decl. ¶ 10; see also, Shahid Depo. at 41:7-19 (Mr. Shahid acknowledging Elixir’s interest in

    other actors bringing sales opportunities to Elixir and this being something Global could provide

    to Elixir). These discussions are reflected in a series of emails dated March 30 and April 4, 2020,

    copies of which are attached as Exhibits “A” and “B” to the Kilgore Decl.

               In these emails, Mr. Shahid provides quotes for Mr. Kilgore as to the amount and price of

    product that could be sold by Elixir, commissions that would be owed to third-parties for

    shipping and other services, and the remaining profit split between Elixir and Global. Mr.

    Kilgore understood these emails to constitute the material terms governing the sale of particular

    PPE that Global would generate, including the eventual sale to the State of Georgia (hereafter,

    1
        https://www.elixirtherapeutics.com/about/ (last accessed June 16, 2022)
    2
        https://www.elixirtherapeutics.com/shop/ (last accessed June 16, 2022)
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    the “Georgia Transaction”). Kilgore Decl., ¶¶ 17-19; see also, Shahid Depo. at 60:8-12

    (acknowledging the profit split discussed in these emails). The parties never discussed whether

    these conversations would be need to be reduced to a formal, written, and signed document

    before becoming binding and enforceable. Kilgore Decl., ¶ 19. Indeed, Mr. Kilgore assented to

    these terms to Mr. Shahid as the basis for the parties’ relationship moving forward. Id. In

    reliance on these emails, Global began its efforts to solicit a purchase order from the State of

    Georgia Emergency Management Agency. Kilgore Decl., ¶ 16, ¶ 26

            What is clear in these emails is an intent to split profit on a 50/50 basis between the two

    parties, after commissions owed to the individuals identified (e.g., Phil Gambel and Jim

    DeArruda). See Shahid Depo. at 46:12-15 (acknowledging that these emails concern the profit

    split in relation to contemplated sales that Global would bring to Elixir), 47:11-48:6 (affirming

    the terms spelled out in these emails), 59:17-60:7 (acknowledging that Mr. Shahid is offering a

    profit split on products that Elixir would sell); see also, Elixir Depo. at 29:4-14; 32:3-6

    (acknowledging that the March 30, 2022 email to be in reference to the Georgia Transaction

    specifically).

            In reliance on these terms, Global moved forward with generating a purchase order from

    the State of Georgia. Kilgore Decl., ¶ 19, ¶ ¶ 26-27; ¶ 31; see also, Elixir Depo. at 39:18-25

    (acknowledging that, as of April 8, 2020, Global was working to secure a purchase order from

    the State of Georgia). At no point in sending these emails did Mr. Shahid disclose that he did not

    have the authority to bind Elixir, that he would need approval from Mr. Hudler first, and that

    these emails were not to be taken as a forming the terms of an express contract between the

    parties. Kilgore Decl., ¶ 19, ¶ 22.

            Furthermore, at no point in these communications did Mr. Shahid indicate that Elixir

    would be financing the procurement of product or would be drawing upon third-party sources of

    investment to procure product, such that these sources of finance or investment would need to be

    paid before any profit allocation between Global and Elixir. Kilgore Decl., ¶ 18, ¶ ¶ 24-25;


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    Shahid Depo. at 48:7-22 (acknowledging same); Elixir Depo. at 66:10-15, 67:22-24

    (acknowledging same).

           The parties thereafter discussed reducing their agreement to a more formal, written

    document. Kilgore Decl., ¶ 21, ¶ 32. Originally, Mr. Shahid proposed having a formal, written

    agreement for each product type sold on any given deal. Kilgore Decl., ¶ 21. On April 5, 2020,

    Mr. Shahid sent to Global a draft “Commission Disbursement Agreement,” governing the sale of

    masks. See Ex. “C” to Kilgore Decl. The profit allocation per mask sold in this document is

    consistent with what the parties had previously agreed to—forty cents per mask to Global as

    commission. Id. This document also reiterated the sequencing of payment: Elixir would pay

    Global its commission within two business days after receipt of payment for a sale. Id.

           C.      The PO from the State of Georgia and the signed Compensation Agreement.
           On April 10, 2020, after the intense efforts by Global, the State of Georgia issued a

    purchase order (“PO”) for masks, gloves, and hazmat suits to be fulfilled by Elixir. See Ex. H to

    Kilgore Decl. The total purchase price reflected on the PO is over $7 million. Critically, both Mr.

    Shahid and Elixir (on behalf of Elixir), have admitted that this would not have happened without

    Global’s efforts, and that Global should be compensated for these efforts. See generally, Shahid

    Depo. at 64:11-18 (acknowledging same), 130:12-13 (same); 131:20-19 (same); Elixir Depo. at

    40:1-14 (admitting same).

           Eventually, the parties pivoted from executing distinct written agreements per product

    type, and instead decided it was better to reduce the previously-agreed upon terms to a master,

    umbrella agreement, whereby each subsequent deal would be reflected in addenda to such an

    agreement. Kilgore Decl., ¶ 32, Ex. I thereto. This is reflected in correspondence dated April 18,

    2020, wherein Mr. Shahid asks Mr. Kilgore for Global’s banking information to remit payment.

    Id. See also, Shahid Depo. at 79:6-22 (acknowledging that this email is specifically in reference

    to the Georgia Transaction).

           On April 24, 2020, the masks had been delivered and the State of Georgia wired to Elixir

    $2.25 million as payment for delivery of the masks. On that date, Mr. Kilgore sent to Mr. Shahid
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    a redlined document reflecting the parties’ earlier discussions about creating a master,

    “umbrella” agreement to govern all deals. Kilgore Decl., ¶ 35, and Ex. C thereto. In that same

    email, Mr. Kilgore asks for Elixir to remit payment to Global, given that the State of Georgia had

    made a payment. Id.

           Meanwhile, Mr. Kilgore had only recently been introduced to Martin Hudler. At first, Mr.

    Kilgore believed Mr. Hudler’s role to be on the accounting side of Elixir’s business. Kilgore

    Decl., ¶ 28. In none of the emails described above was Mr. Hudler copied, let alone introduced to

    Mr. Kilgore as the managing director of Elixir. Id. Not once was it (1) communicated to Mr.

    Kilgore that Mr. Hudler would need to have final approval over any offer or (2) Mr. Shahid did

    not have authority to bind Elixir. Kilgore Decl., ¶ 8, ¶ 28; see also, Shahid Depo. at 81:8-82:1

    (admitting that he never had any conversations with Mr. Hudler about the exchange of these draft

    agreements); Elixir Depo. at 59:9-25 (Mr. Hudler admitting that he had no awareness of how Mr.

    Shahid and Mr. Kilgore were structuring the dealings between them). For example, in an email

    dated April 8, 2020, Mr. Kilgore confirmed for Mr. Hudler the 50/50 profit allocation between

    Global and Elixir, as previously agreed to by Mr. Shahid. Kilgore Decl., ¶ 29, Ex. F thereto.

           On April 28, 2020, Mr. Hudler sent to Global a written document titled “Compensation

    Agreement,” bearing his signature. Kilgore Decl., ¶ 37, Ex. J thereto. This document further

    reflects the agreement already struck between the parties: a 50/50 profit allocation after payment

    of commissions to third parties previously disclosed. Id. The Compensation Agreement also

    introduces the concept of “reasonable financial costs” for the fulfillment of any product sold. Id.

    Prior to May 11, 2020, Mr. Hudler never indicated that this Compensation Agreement required

    Global’s counter-signature to become effective. Kilgore Decl., ¶ 38; see also, Elixir Depo. at

    77:18-78:4 (regarding Mr. Hudler’s lack of recollection on this point). Mr. Kilgore interpreted

    this agreement to be effective against Elixir and, in reliance on this agreement, proceeded with

    working to secure the procurement of product and payment from the State of Georgia. Kilgore

    Decl., ¶ 39. Nevertheless, Mr. Kilgore did, in fact, sign the Compensation Agreement on the


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    same day that Mr. Hudler presented it to him. Id. see also, Ex. K thereto (Compensation

    Agreement bearing Mr. Kilgore’s signature).

           Furthermore, at no point prior to and leading up to April 28, 2020, were any “financing”

    costs revealed to—let alone approved by—Global. See generally, Kilgore Decl., ¶ [x]; Elixir

    Depo. at 66:5-15; 76:23-77:15. Elixir had never once indicated that “financing” costs would need

    to be incurred to procure product. Kilgore Decl., ¶ 25, ¶ 41. Indeed, the only thing remotely

    relating to a “finance” cost that had been discussed and agreed to by the parties was the charge of

    an additional nickel per mask that had been requested by the supplier of the masks, an entity

    named Cavalini, Inc., before the masks could leave that warehouse. Kilgore Decl., ¶ 33.

           For his part, Mr. Shahid stated that he was unaware of any conversations between the

    parties at this time where commissions to third parties other than Phil Gamble and James

    DeArruda were disclosed. Shahid Depo. at 85:17-21.

           D.      Final payment from the State of Georgia, Mr. Hudler’s bad faith
                   “revocation” of the parties’ contract, and Elixir’s breach.
           On May 1, 2020, Elixir delivered the remaining product pursuant to the PO: hazmat suits.

    Kilgore Decl., ¶ 45. On May 11, 2020, the State of Georgia paid Elixir the remaining balance

    due: $3,213,200.00. See Ex. “C” to Stamm Decl. (May 2020 bank statement detailing this

    inbound payment). As of this moment, the Georgia Transaction was complete. Global had

    rendered services in reliance on an enforceable agreement between it and Elixir, and nothing

    further was to be done except for Elixir to pay Global it’s 50% profit allocation after calculating

    the deductions for third-party commissions (Phil Gamble and James DeArruda). Kilgore Decl.,

    ¶ 47. Stunningly, on that very same day, Mr. Hudler notified Mr. Kilgore that the previously-

    signed Compensation Agreement had been revoked and unenforceable due to the lack of a

    counter-signature by Global. Kilgore Decl., ¶ 48, Ex. M thereto. However, at no point prior to

    May 11, 2020, did Mr. Hudler condition the validity of the Compensation Agreement upon
    Global’s counter-signature. Kilgore Decl., ¶ 48; see also, Elixir Depo. at 77:18-78:24 (where Mr.

    Hudler could not recall whether he ever indicated to Mr. Kilgore that the Compensation

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    Agreement required a countersignature). Indeed, Mr. Kilgore interpreted the Compensation

    Agreement as binding, reflecting the agreement already struck between the two sides, and

    reflecting the performance that had already occurred vis-à-vis the Georgia Transaction. Kilgore

    Decl., ¶ ¶ 37-39.

           Nevertheless, Elixir has admitted that Global was to be paid upon the completion of a

    successful transaction with the State of Georgia. Elixir Depo. at 57:11-16, 65:13-17 (stating that

    payment would be made after Elixir was paid from the State of Georgia).

           E.      Delay, obfuscation, and bad faith.
           From May 11, 2020, onwards began a long and complex story of obfuscation, delay, and

    bad faith by Elixir in an effort to avoid paying Global its 50% profit allocation from the Georgia

    Transaction. See generally, Kilgore Decl., ¶ ¶ 48-70. This story can also be summarized simply

    as Elixir’s breach of the oral and written agreements.

           In addition to reneging on its earlier obligation, Elixir claimed that before any payment

    could be made to Global, a significant payment north of $1million would first need to be paid to

    mysterious “capital” sources Elixir had incurred in order to procure the product. Kilgore Decl.,

    ¶ 50. Over the next several months, Global made repeated demand for Elixir to remit payment.

    Kilgore Decl., ¶¶ 51-70. Mr. Hudler’s demands grew increasingly egregious before agreeing to

    make any payment to Global, such as forcing Elixir to execute a “Settlement Agreement” for a

    drastically reduced commission, which included a punitive damages provision and personal

    indemnifications executed by both Mr. Kilgore and even his wife. Kilgore Decl., ¶ 55. Short of

    initiating litigation, Mr. Kilgore felt powerless at this point. Kilgore Decl., ¶ 53. Nevertheless,

    Mr. Hudler would acknowledge that GIC was owed for its services vis-à-vis the Georgia

    Transaction. Kilgore Decl., ¶ 54, Ex. P thereto.

           Mr. Hudler grew increasingly agitated with Mr. Kilgore’s demands for payment, claiming

    that his “capital” sources were demanding that Global accept a lower and lower amount of

    compensation from the Georgia Transaction. Kilgore Decl., ¶ 61. Of course, it has since been

    revealed in the course of discovery in this matter that these so-called “capital” sources were, in
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    fact, Mr. Hudler all along, along with (allegedly) his ex-father-in-law, who is now deceased. See

    Elixir’s Amended Responses to Global’s Interrogatories 17-19, attached as Ex. “D” to the

    Stamm Decl.

           F.      The accounting of expenses and revenue for the Georgia Transaction, and
                   the correct amount of compensation owed to Global.
           Eventually, Elixir produced a document purporting to reflect all of the revenue and

    expenses associated with the Georgia Transaction. See Ex. “E” to the Stamm Decl. This

    document was also produced in response to an Interrogatory requesting an accounting of costs

    and adjustments for the Georgia Transaction. In doing so, Elixir claimed that this document was

    a true and accurate presentation of all revenue and expenses associated with the Georgia

    Transaction. In this document, Elixir acknowledges compensation of $630,650 owed to Global

    (i.e., “Kilgore Group”). What would now appear to make this case open and shut is,

    unfortunately, littered with errors. As but one example, Elixir states that amount it paid to the

    supplier of the 200,000 hazmat suits was $1,756,814.00. Id. This is incorrect. As reflected in

    Elixir’s own bank activity, the amount it paid to this supplier—Red Rock Sourcing, LLC—was

    $1,497,570. See April 2020 Elixir Bank Statement, attached as Ex. “F” to the Stamm Decl. Mr.

    Hudler acknowledged that the price paid to the hazmat suit supplier, a Nevada entity named Red

    Rock Sourcing, LLC, was indeed $1,497,500. Elixir Depo. at 164:1-9. This is a difference of

    $259,244 that should have been re-allocated as profit between Global and Elixir. Building this

    amount back in to the allocations in this document nets Global—at a minimum—$760,262.00.

           Remaining line items on this document were never disclosed to Global prior to entering

    in to its agreement with Elixir, such as “Capital Stack Fee” and “Capital Stack Participation.”

    Together, these two items account for $1,646,593.00 that Elixir deducted from gross profit that

    would otherwise be allocated to Elixir and Global. As stated previously, neither a “Capital Stack

    Fee” nor a “Capital Stack Participation” fee were ever disclosed to Global leading up to and

    through the Georgia Transaction. Per Mr. Hudler’s later testimony, his arrangement with his

    “capital” sources called for them to receive 50% of gross profit first, and the remaining amount

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    of profit would then be split 50/50 between Elixir and Global. In other words, Global was only to

    receive 25% of gross profit all along. Elixir Depo. at 97:25-100:15 (admitting that Global is

    owed compensation), 100:21-22 (admitting this alternative structure of payment to Global),

    102:8-20 (unable to recall what Elixir’s 25% share should be).

           However, as admitted by Mr. Hudler, Mr. Shahid, and Mr. Kilgore—none of this had

    been disclosed to Global at any point until well after the Georgia Transaction had concluded.

    Kilgore Decl., ¶ 43; see also Elixir Depo. at 66:6-9, 76:23-77:15 (acknowledging same).

           Therefore, building the $1,646,593.00 “Capital” “fees” back in to Elixir’s own

    calculation, on top of the $259,244 difference in the cost of hazmat suits described above, Global

    is entitled to $1,583,558.50 as compensation for the Georgia Transaction.

           G.      Summary of undisputed, material facts.
           What is undisputed is the following: Shahriar Shahid, acting as Director for Elixir,

    entered into an agreement with Global whereby Global would solicit purchase orders for PPE

    that Elixir would then fill. The parties executed an enforceable contract over email regarding

    procurement of PPE generally, and in particular vis-à-vis the state of Georgia. The material terms

    of that agreement were that, after commissions to a few individuals, the parties would split profit

    on any sale 50/50, and payment to Global was to occur within two business days after Elixir

    received any payment. In reliance on this, Global set out to generate a PO from the State of

    Georgia. The one adjustment to this deal was an additional nickel per mask in order for the

    supplier of the masks to release them from its warehouse. The parties worked to reduce this

    agreement to a formal writing, exchanging drafts of the same, while Global continued to work

    towards securing the PO. The PO was signed on April 10, 2020, and Elixir began delivering

    product. On April 28, 2020, after the first series of payments had come to Elixir from the State of

    Georgia, Martin Hudler sent to Global a signed Compensation Agreement. At no point up to or

    during that time did Elixir condition the enforceability of this agreement on Global’s counter-

    signature. At no point up to this time had it been disclosed to Global that Elixir would be

    incurring significant “capital” finance charges that would ultimately account for a 50% reduction
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    in net profits between Elixir and Global. On the same day the State of Georgia sent the final

    payment to Elixir (totalling over $6 million in revenue), Elixir reneged on its earlier

    agreement(s), claiming that the Compensation Agreement was unenforceable. Elixir has since

    acknowledged—repeatedly—that the Georgia Transaction would never have occurred without

    Global’s work, Global is entitled to compensation, and Global has never been paid. Finally, per

    the formula previously agreed to by the parties, and reflecting the true cost of goods sold, the

    amount owed to Global is $1,583,558.50.

                                               ARGUMENT

    I.     LEGAL STANDARD
           A party is entitled to summary judgment on any claim or defense if the “movant shows

    that there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

    matter of law.” Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

    Although the court must view the evidence in the light most favorable to the non-movant and

    draw all reasonable inferences in the non-movant’s favor, Clicks Billiards Inc. v. Sixshooters

    Inc., 251 F.3d 1252, 1257 (9th Cir. 2001), the “mere existence of a scintilla of evidence in

    support of the plaintiff’s position [is] insufficient” to survive summary judgment. Anderson v.

    Liberty Lobby, Inc., 477 U.S. 242, 252, 255 (1986). “Where the record taken as a whole could

    not lead a rational trier of fact to find for the non-moving party, there is no genuine issue for

    trial.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (citation and

    internal quotation marks omitted).

           A.      Summary Judgment on Written Contract [existence of and breach]
           There is no dispute that the parties entered into a valid and enforceable agreement

    whereby, in exchange for Global’s efforts in generating the PO from the State of Georgia, Elixir

    would pay to Global 50% of gross profit from any sale, after deductions made for commissions

    to other third-parties. There is no dispute that Global fully performed. There is no dispute that

    Elixir received over $6 million from the State of Georgia. There is no dispute that Elixir has

    breached that agreement by failing to pay Global. Whether through the oral and written
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    communications between the parties through April 28, 2020, or through the executed

    Compensation Agreement dated April 28, 2020, the Court need only decide which version of the

    agreement that governs.

           B.      The agreement reached before April 28, 2020 is valid and enforceable, and
                   Elixir breached that agreement by failing to pay Global its commission.

                   1.      Under Oregon’s choice-of-law analysis, Georgia law would apply,
                           although under either Georgia or Oregon law, the agreement would
                           be valid and enforceable.
           As described more fully above, from March 30, 2020, through April of 2020, the parties

    had exchanged several emails and conversed regarding Global’s services in generating PPE sales

    for Elixir. It is undisputed that these communications, and Global’s performance pursuant to

    these communications, constitute a valid and enforceable agreement. As a threshold matter, the

    Court may first need to determine which State’s law governs the formation and interpretation of

    this agreement, given that in none of these communications did the parties stipulate to a

    particular State’s substantive law. Given that the Court sits in diversity jurisdiction, the Court is

    to look at the forum state’s choice of law provisions to guide its analysis in applying the

    appropriate substantive contract law. Klaxon Co. v. Stentor Co., 313 US 487, 496 (1941). Here

    we have a Wyoming entity with its principal place of business in Oregon and an Alabama entity

    contracting for services rendered nationally, but more specifically within the State of Georgia.

    ORS 15.380(2)(b), Oregon’s choice-of-law provision regarding contracts, states that “[c]ontracts

    for personal services are governed by the law of the state where the services are to be primarily

    rendered pursuant to the contract.” See Herron v. Wells Fargo Fin., Inc., 2006 WL 2422831 (D.

    Or. May 22, 2006) (applying same approach).

           It is undisputed that (1) the parties contemplated an arrangement whereby Global was to

    provide a service; and (2) Global’s services were to be rendered nationally, but more specifically

    the State of Georgia. Global submits that Oregon contract law should apply to this analysis,

    given that Elixir is primarily an Oregon corporation, Elixir sued in Oregon first, and each

    iteration of a written agreement (including the executed Compensation Agreement) stipulate to

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    Oregon law. However, to the extent that the Court finds that Georgia law would apply, the legal

    analysis would yield the same result: the parties entered into a valid and enforceable agreement.

    An examination of substantive Georgia contract law reveals that both Oregon and Georgia

    subscribe to long-standing, black letter principles of contract law (i.e., the Restatement).

           To state a claim for breach of contract under Georgia Law, a plaintiff's complaint must

    generally allege a factual framework showing parties able to contract, a consideration moving to

    the contract, the assent of the parties to the terms of the contract, and a subject matter upon

    which the contract can operate. See Weathers v. Dieniahmar Music, LLC, 788 S.E.2d 852, 858

    (Ga. Ct. App. 2016). Each of these elements are met here.

           The requisites of an explicit contract are a meeting of the minds of the parties, mutuality,

    and the clear expression of the terms of the agreement. Jimenez v. Gilbane Bldg. Co., 303 Ga.
    App. 125, 693 S.E.2d 126, 129 (2010) (Stating same). In order for a contract to be valid, the

    agreement must ordinarily be expressed plainly and explicitly enough to show what the parties

    agreed upon. Id. Partial performance of a contract supplies mutuality of obligation and renders

    the contract enforceable. See Hill Aircraft & Leasing Corp. v. Planes, Inc., 158 Ga. App. 151,

    152–53 (1981) (partial performance of agreement to sell aircraft, by buyer's paying seller

    deposit, supplied mutuality of obligation and rendered agreement to buy enforceable although

    agreement did not contain explicit promise to buy.). Moreover, assent to a contract may be given

    without signatures. See generally, Del Lago Ventures, Inc. v. QuikTrip Corp., 764 S.E.2d 595,

    600 (Ga. Ct. App. 2014); Building Materials Wholesale, Inc. v. Triad Drywall, LLC, 287 Ga.

    App. 772, 653 S.E.2d 115 (2007) (same)). As with Oregon, Georgia follows the “objective”

    theory of manifested assent to a contract. Hart v. Hart, 777 S.E.2d 431, 433 (Ga. 2015) (citations

    omitted). In making that determination, the circumstances surrounding the making of the

    contract, such as correspondence and discussions, are relevant in deciding if there was a mutual

    assent to an agreement, and courts are free to consider such extrinsic evidence. Id.

           Additionally, the parties may become bound by the terms of a contract, even though they

    do not sign it, where their assent is otherwise indicated, such as by the acceptance of benefits
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    under the contract or the acceptance by one of the performance by the other. Marett v. Brice

    Bldg. Co., Inc., 603 S.E.2d 40, 43 (2004). Thus, performing under a contract constitutes

    acceptance of an offer. Hansen v. Doan, 320 Ga. App. 609, 740 S.E.2d 338 (2013) (an offer may

    be accepted either by a promise to do the thing contemplated therein or by the actual doing of the

    thing); Barnes v. Martin-Pierce, 838 S.E.2d 916 (Ga. Ct. App. 2020) (same). The offeror’s

    power to revoke the offer to enter into a contract ceases, however, at the instant that an

    acceptance by the offeree becomes effective. In re Hopson, 216 B.R. 297, 301-02 (Bankr. N.D.

    Ga. 1997).

           Finally, the parties may become bound by the terms of a contract, even though they do

    not sign it, where their assent is otherwise indicated, such as by the acceptance of benefits under

    the contract or the acceptance by one of the performance by the other. See Marett, 603 S.E.2d at

    43. Thus, performing under a contract constitutes acceptance of an offer.

           Here, the email exchanges and contemporaneous communications between Mr. Kilgore

    and Mr. Shahid, and subsequent performance by Global, constitute a valid and enforceable

    contract. The emails dated March 30 (Ex. A to Kilgore Decl.) and April 4 (composite Ex. B to

    the Kilgore Decl.), along with the emails dated April 9 (Ex. G to Kilgore Decl., indicating the

    50/50 profit split to Mr. Hudler), subsequent communications exchanging drafts of a

    Commission Disbursement Agreement between Mr. Shahid and Mr. Kilgore (Ex. C and I to

    Kilgore Decl.), clearly establish a mutual intent to be bound and mutual assent to the terms

    proposed. Global manifested its assent to these terms by acknowledging the same to Mr. Shahid

    and Mr. Hudler, and proceeding to perform in securing the PO from the State of Georgia.

    Kilgore Decl., ¶ 16, ¶ 19, ¶ 26. At no point did Elixir communicate that these emails were not

    intended to create an offer or form the basis for a binding agreement. Kilgore Decl., ¶ 19. At no

    point did Elixir communicate that the terms were indefinite or would need to be reduced to a

    formal, counter-signed document before becoming binding. Id. These communications reflected

    what commissions would be available to Global in particular for any sale, particularly to the

    State of Georgia. Kilgore Decl., ¶ 17; Shahid Depo. at 60:8-12. Elixir invited Global’s
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    performance in offering these terms, and it became bound once Global did perform in response.

    In sum, the exchange of emails, communications (and lack thereof), and performance by Global

    in reliance on these communications, created a valid and enforceable agreement between Global

    and Elixir. Under any objective measure, it is clear that through these words and actions, both

    parties assented to an agreement and intended to be bound.

                   2.      Terms of the parties’ agreement and Elixir’s breach.
           As seen above, this agreement was one for personal services, wherein Global was to be

    paid a commission for those services. The essential terms of this agreement are as follows:

    Global would solicit and generate purchase orders from state agencies for the procurement of

    PPE that Elixir would then fill. Elixir had particular product types that it could procure. Upon the

    successful sale of PPE by Elixir, Elixir and Global would split the profit margins between the

    cost of goods sold and the sale price 50/50, after allocations made for commissions to third-

    parties (Phil Gambel and James DeArruda). While other terms may have been left open for

    future negotiation, these were the basic and essential terms that govern this agreement. See Syms

    v. State, 331 Ga. App. 225, 770 S.E.2d 305 (2015) (the absence of agreement on nonessential

    terms does not render the agreement unenforceable).

           A contract that may originally have been indefinite may later acquire more precision and

    become enforceable because of the subsequent words or actions of the parties. Reebaa Const.

    Company, Inc. v. Chang Sop Chong, 283 Ga. 222, 224 (2008) (citations omitted). For example,

    here, it was later discussed and agreed to by the parties that the supplier of the 3ply masks,

    Cavalini Inc., would receive an extra nickel per mask before the supplier would agree to release

    the masks from the warehouse. Kilgore Decl., ¶ 33.

           The law does not favor destroying contracts on the basis of uncertainty if it is possible in

    the light of the circumstances under which the contract was made to determine the reasonable

    intention of the parties. Reebaa Const. Company, Inc., 283 Ga. at 224. In Touche Ross & Co. v.

    DASD Corp., 292 S.E.2d 84 (1982), for example, a Georgia court held that “a contract is not

    void because its performance is, as to particular details, left subject to the subsequent agreement
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    of the parties.” In Touche Ross, the contract's broad language as to the scope of work to be

    accomplished by the defendant was not found too indefinite or vague, because the parties

    “entered into performance of the contract without raising any question as to its legal significance,

    and continued for a period of approximately five months.” Id. So too here, there was never any

    doubt raised between the parties as the material terms of the agreement before and during Global

    rendered performance and the State of Georgia executed the PO. Moreover, the law does not

    favor destroying contracts on the basis of uncertainty, and a contract that may originally have

    been indefinite may later acquire more precision and become enforceable because of the

    subsequent words or actions of the parties.

           In sum, it is undisputed that the parties contemplated a 50/50 profit split on the profit

    margins for each product type sold, after allocations accounting for deductions to third-parties

    that had been disclosed previously (Phil Gambel and James DeArruda of ClearFreight, Inc.). The

    facts that all nonessential terms were left open and/or later discussed and reflected in a

    subsequent written agreement does not negate the contract due to indefiniteness.

                   3.      Elixir’s breach of the agreement.
           It is undisputed that Elixir breached the agreement. Its performance obligation was

    simple: pay Global its commission upon payment by the State of Georgia. To this day, despite

    full performance by Global, payment from the State of Georgia of over $6 million, and payment

    to the third parties previously disclosed, Elixir has not paid anything to Global. This is a material

    breach of the parties’ agreement. See generally, CCE Federal Credit Union v. Chesser, 150 Ga.

    App. 328, 258 S.E.2d 2 (1979) (describing the nature of a breach).

           Summary judgment on the validity, enforceability, and breach of this agreement is

    accordingly proper.

           C.      The Compensation Agreement signed by Mr. Hudler is valid and
                   enforceable.
           Although the parties already had a valid and enforceable agreement at the time Mr.

    Hudler sent the signed Compensation Agreement, this agreement served to memorialize and

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    supply the remaining, non-essential terms governing the parties’ agreement and act as the

    governing document, and became enforceable against Elixir. Indeed, the very crux of this case is

    Elixir’s argument that it has no contractual obligations vis-à-vis the Compensation Agreement

    because this agreement was revoked before Global sent a counter-executed version back to

    Elixir. This argument has been, and remains to be, incorrect.

           As more fully described above, at no point prior to his attempted revocation did Mr.

    Hudler condition the validity of this agreement upon Global’s counter-signature. Kilgore Decl.,

    ¶ 38; Elixir Depo. at 77:18-78:4 (acknowledging same). Indeed, Mr. Hudler never invited any

    manner of acceptance, nor was it necessary. Id. Given that the parties had already been

    entrenched in the Georgia Transaction, it was only reasonable for Global to simply continuing to

    perform as it already had in effectuating the successful sale of product to the State of Georgia.

    Per Mr. Kilgore, Global assented to this agreement as a reflection of the agreement the parties

    had already reached. Kilgore Decl., ¶ 37. Global thereafter continued to perform in assisting with

    the procurement of product and payment from the State of Georgia. Id. at ¶ 38. Global’s

    performance was complete by May 11, 2020, when the final payment from the State of Georgia

    came to Elixir. ). As stated above, performing under a contract constitutes acceptance of an offer.

    State v. U. S. Oil Co., 389 S.E.2d 498 (Ga. Ct. App. 1989) ; Classic Restorations, Inc. v. Bean,

    272 S.E.2d 557 (Ga. Ct. App. 1980); see also, Hansen v. Doan, 740 S.E.2d 338 (Ga. Ct. App.

    2013) (an offer may be accepted either by a promise to do the thing contemplated therein or by

    the actual doing of the thing); Barnes, 838 S.E.2d 916 (same). The offeror’s power to revoke the

    offer to enter into a contract ceases, however, at the instant that an acceptance by the offeree

    becomes effective. In re Hopson, 216 B.R. 297. There can be no dispute that Global had

    performed, and continued to perform, in reliance on Elixir’s commitments, including those in the

    Compensation Agreement.

           Only on May 11, 2020—the same day the State of Georgia sent the final payment balance

    to Elixir—did Elixir attempt to “revoke” the Compensation Agreement, claiming that it had no

    legal effect as it was never counter-executed by Global. Kilgore Decl., ¶ 48; Elixir Depo. at
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    77:18-78:4 (admitting that Elixir never communicated to Global prior to this point that the

    agreement was invalid or needed to be counter-executed to be effective). However, this

    purported “revocation” was invalid at this point. Global had already fully performed.

           Moreover, this is not the type of agreement falling within the statute of frauds. It is

    unclear whether Elixir’s position has been that the Compensation Agreement is somehow

    unenforceable due to the lack of Global’s counter-signature because the agreement falls within

    Georgia’s (or Oregon’s) statute of frauds. However, to the extent Elixir does make such an

    argument, it is completely irrelevant. First, this is not an agreement covered within the statute.

    See O.C.G.A. 13-5-30 (2010) (for Georgia’s statute of frauds), and ORS 41.580 (for Oregon’s

    analog). Secondly, it is black letter contract law that the document must be signed by the party

    against whom enforcement is ought. This is not a case where Elixir is suing for Global’s

    performance. It is the other way around. It does not matter, for the purposes of the statute of

    frauds, whether Global ever counter-signed the agreement when Elixir did so.

           In sum, there is simply no legal basis for Elixir to argue that the Compensation

    Agreement is unenforceable against Elixir when (a) Elixir executed the document and (b) Global

    manifested its assent to that agreement by continuing to perform in reliance. Elixir’s bad faith,

    attempted “revocation” of this agreement on the date it received final payment from the State of

    Georgia is unavailing. Summary judgment on the validity of the Compensation Agreement and

    its enforceability against Elixir is accordingly proper.

                   1.      Terms of the Compensation Agreement.
           Having established that the Compensation Agreement is a valid and enforceable contract,

    the Court may now turn back to Oregon law to govern the ensuing analysis. See Compensation

    Agreement, Section 12 (“Governing Law”). The critical provision in the Compensation

    Agreement at issue in this litigation is Section 2, titled “Compensation and Costs.” This

    provision spells out the formula and timing of payment to Global for its portion of profits on any

    given sale. For example, it states that “Costs” and “Adjustments” will be factored and paid

    before payment by Elixir to Global. Once these “Costs” and “Adjustments” have been factors
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    and settled, “Elixir shall within two (2) business days distribute the compensation to [Global].”

    Global’s compensation shall “be equal to fifty percent (50%) of the gross sales proceeds received

    by Elixir from a buyer . . . less all Costs and Adjustments.” Id.

           Included in the definition of “Costs” and “Adjustments” are (1) adjustments in quantify;

    (2) commissions to third parties that have been approved by the parties; and (3) the “cost of

    customary purchase order financing or reasonable financial costs associated with fulfilling a

    purchase order.” As detailed above, the parties agreed to an adjustment in the cost of product for

    the 3ply masks, providing the supplier with an extra nickel per mask before they would leave the

    supplier’s warehouse. Kilgore Decl., ¶ 33. The third-parties previously disclosed were two Phil

    Gambel, and James DeArruda of ClearFreight, Inc. It is undisputed that these individuals have

    been since paid their commissions from the Georgia Transaction. See Elixir Bank Statements

    evidencing same, Composite Ex. “G” to the Stamm Decl. It is undisputed that the State of

    Georgia paid Elixir over $6 million due to Global’s efforts. It is further undisputed that Elixir

    failed to pay Global any money from the Georgia Transaction.

           Elixir may point to the “cost of customary purchase order financing or reasonable

    financial costs associated with fulfilling a purchase order” as the basis for it withholding any

    payment. As more fully described in the Kilgore Decl., Elixir claims to have incurred a

    significant “capital” cost, and that these “capital” sources ultimately how much money Global

    was going to receive. Kilgore Decl., ¶ 43. However, none of the specifics regarding these

    “capital” costs, nor the staggering percentage that they were allegedly due to receive on the

    Georgia Transaction, were ever disclosed to Global during the time it had accepted the

    agreement and performed thereunder. Id.; Shahid Depo. at 85:4-9 (admitting same); Elixir Depo.

    at 66:10-15 (claiming lack of recollection on whether this was ever disclosed to Global) It was

    only revealed nearly two years later, at Elixir’s corporate representative deposition, that Elixir’s

    “capital” sources were to receive 50% of gross profits from the Georgia Transaction before

    Global and Elixir were to receive their share (effectively reducing Global’s share of gross profits

    from a half to a quarter). As reflected on the accounting provided by Elixir in the course of
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    discovery (Ex. S to the Kilgore Decl.), Elixir maintains that these “capital” sources are owed

    over $1.6m from gross profit on the Georgia Transaction.

           What’s more, it was only recently revaled in an amended response to Global’s

    interrogatories that Elixir’s “capital” source was Mr. Hudler himself all along, along with his ex-

    father-in-law. Although the Compensation Agreement allows Elixir to deduct “reasonable” and

    “customary” finance charges from total profit, 50% of gross profit is simply unreasonable, let

    alone never discussed with Global ahead of time).

           Finally, it is undisputed that Elixir breached the Compensation Agreement in failing to

    remit payment to Global. Embedded in every contract is the covenant of good faith and fair

    dealing. See Uptown Heights Associates v. Seafirst Corp., 320 Or. 638, 645 (1995). As more

    fully described in the Kilgore Decl., Elixir continually refused to remit payment to Global, first

    due to the lack of a counter-signature (which was baseless, as described above), and due to the

    (ficticious) demands of its mysterious “capital” sources for Global to accept a lower payment

    amount. As of May 11, 2020, and certainly beyond, Elixir had been fully paid by the State of

    Georgia, and all payments to third-parties and other sources had been complete. The bad faith

    obfuscation and delay regarding the alleged “capital” sources amount to a material breach of the

    Compensation Agreement. What’s more, even when Elixir acknowledged the amount owed to

    Elixir in providing the accounting, it still refused to pay. Kilgore Decl., ¶ 71.

           D.      Elixir’s contract damages are reasonably certain.
           Global may elect its remedy on the agreement struck before April 28, 2020, or under the

    Compensation Agreement signed by Mr. Hudler. Under the earlier agreement struck before April

    28, 2020, Global’s commission is the result of the agreed-upon formula described above: 50% of

    gross profit after cost of goods sold and commissions to Phil Gamble and James DeArruda of

    ClearFreight, Inc.. The following numbers are undisputed:




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     Total Revenue received by        $6,200,000.00                   See Ex. S to the Kilgore Decl.

     Elixir from State of                                             (“accounting” of costs and

     Georgia:                                                         revenue provided by Elixir).


     Payment to Phil Gamble:          $75,000.00                      Id. (reflecting $75,000

                                                                      payment to “PG”).


     Payment to James                 Approx. $55,000.00              See Composite Ex. “G” to

     DeArruda of ClearFreight,                                        Stamm Decl. (Elixir bank

     Inc.                                                             statements listing wire

                                                                      transfers to ClearFreight,

                                                                      Inc.).


     Cost of masks:                   $1,300,000.00                   See Ex. S to Kilgore Decl.

                                                                      (“accounting” of costs).


     Cost of hazmat suits:            $1,497,570.00                   See Ex. “F” to Stamm Decl.

                                                                      (April 2020 bank statement

                                                                      evidencing payment to

                                                                      supplier of suits, Red Rock

                                                                      Sourcing, LLC.


    Calculating each of these expenses (cost of goods and commissions to third parties), the total

    expenses to Elixir for the Georgia Transaction would accordingly be $2,927,570. Gross profit,

    therefore, would be $3,272,430. Dividing that by two, and resulting in Global’s 50% cut of gross

    profits, yields $1,636,215.00 in damages.

            If Global were to proceed with its damages pursuant to the breach of the Compensation

    Agreement, and relying on the “accounting” document provided by Elixir as a true and accurate

    reflection of costs and expenses, at a minimum, Global would be entitled to receive
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    $760,262.00, due to Elixir’s error in calculating the total cost of procuring the hazmat suits as

    described more fully above. However, Elixir’s unreasonable and bad faith inclusion of over $1.6

    million in “capital” costs and fees should be deducted from this amount, as this figure is

    unreasonable and was never disclosed to Global. Accounting for this additional figure, again as

    discussed above, Global’s share of profits due pursuant to the Compensation Agreement should

    be $1,583,558.50.

           Summary judgment on either damages figure is accordingly appropriate.

           E.      In the alternative to Count I, summary judgment on Counts IV and V are
                   appropriate.
           In the alternative to its claims for an express contract, Global has brought twin claims for

    unjust enrichment and quantum meruit. It is both proper and commonplace for a party to plead

    counts in contract and in quantum meruit covering the same course of events. “Such alternative

    pleading may be beneficial to the pleader ... where [it] is unsure of whether it can actually prove

    the existence of the contract at trial.” Kashmir Corp. v. Patterson, 43 Or. App. 45, 48 (1979)

    (emphasis added). “Indeed, the use of a quantum meruit claim as an alternative to a breach of

    contract claim is so common that it is not only unremarkable but something that is

    expected.” Mount Hood Cmty. Coll. ex rel. K & H Drywall, Inc. v. Fed. Ins. Co., 199 Or. App.

    146, 156 (2005). A plaintiff is entitled to plead alternatively on an express contract and in

    quantum meruit “without having to elect the theory upon which it would rely.” Id. at 159.

           Under Oregon law, the elements of a quasi-contract are: (1) a benefit is conferred; (2) the

    recipient is aware that a benefit has been received; and (3) “[i]t would be unjust to allow

    retention of the benefit without requiring the recipient to pay for it.” Robinowitz v. Pozzi, 127 Or.

    App. 464, 467 (1994). Here, it is undisputed that Global conferred a benefit to Elixir by soliciting

    and generating a purchase order from the State of Georgia that eventually yielded over $6

    million in revenue to Elixir. Both Elixir and Mr. Shahid repeatedly admitted that this deal would

    not have been done without Global’s services, and were aware that Global performed such

    services. Both acknowledge that Global did not perform these services for free. Global did not.

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    Kilgore Decl., ¶ 72. Over two years have passed since the date of full payment by the State of

    Georgia to Elixir. And yet, to date, Elixir has kept over $1.5 million owed to Global as

    compensation for its efforts. It would be a severe injustice to allow Elixir to retain all of the

    reward of Global’s efforts. Summary judgment on Coutns IV and V, in the alternative to Count I,

    is accordingly proper.

           F.      Summary judgment on Count II, violation of the Alabama Sales
                   Representative Statute—is appropriate.
           Global also moves for summary judgment on Count II of its Counterclaim: violation of

    the Alabama Sales Representative Statute. See Alabama Code, Title 8, section 24-1, et seq. This

    regime ensures that sales representatives utilized by principals in the sale of products are paid

    their commissions within a specified time. See Section 8-23-3 (“[a] principal who fails to pay a

    commission as required by Section 8-24-2 is liable to the sales representative in a civil action for

    three times the damages sustained by the sales representative plus reasonable attorney's fees and

    court costs.”). Per Section 24-1(2) a “Principal” is defined as any person who does all of the

    following: (a) engages in the business of manufacturing, producing, importing, or distributing a

    product or products for sale to customers who purchase the product or products for resale; (b)

    utilizes sales representatives to solicit orders for the product or products; and (c) compensates the

    sales representatives, in whole or in part, by commission. Id. A “Sales Representative” is defined

    as “[a]ny person who engages in the business of soliciting, on behalf of a principal, orders for the

    purchase at wholesale of the product or products of the principal, but does not include a person

    who places orders or purchases for his or her own account for resale, or a person engaged in

    home solicitation sales.”

           Section 8-24-2 governs the timing of commissions owed to a Sales Representative:

           (a) The terms of the contract between the principal and sales representative shall

           determine when a commission is due.

           (b) If the time when the commission is due cannot be determined by a contract between

           the principal and sales representative, the past practices between the parties shall control,

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           or if there are no past practices, the custom and usage prevalent in this state for the

           business that is the subject of the relationship between the parties shall control.

           (c) All commissions that are due at the time of termination of a contract between a sales

           representative and principal shall be paid within thirty days after the date of termination.

           Commissions that become due after the termination date shall be paid within thirty days

           after the date on which the commissions become due.

    Id. Here, it is undisputed that Elixir is engaged in the business of importing or distributing

    products for the sale of products, and did so vis-à-vis the Georgia Transaction. Elixir utilized

    Global as a sales representative to solicit a purchase order from the State of Georgia. Elixir was

    to pay Global a commission for Global’s efforts in soliciting the purchase order. It is undisputed

    that Global was a “Sales Representative” for the purpose of the Georgia Transaction in soliciting

    the purchase of products from the State of Georgia on behalf of Elixir. Per the parties’

    agreement—whether the agreement struck before April 28, 2020, or the Compensation

    Agreement—payment of that commission to Global was to occur within a specific time. It is

    undisputed that Global received full and final payment from the State of Georgia on May 11,

    2022. It is equally undisputed that Elixir has failed to pay anything to Global.

           In sum, the undisputed facts demonstrate that summary judgment as to Elixir’s liability

    under the Alabama Sales Representative Statute is appropriate. Global submits that its damages

    are reasonably definite and certain under this statute, as outlined above.

                                              CONCLUSION
           For these reasons, and for the reasons stated above, the Court should grant GIC’s Motion

    for Partial Summary Judgment.




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          Dated: June 17, 2022.

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